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 1                                                        THE HONORABLE RICHARD A. JONES
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9   BLACK LIVES MATTER SEATTLE-                      No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                          DECLARATION OF OMARI SALISBURY
     KYASHNA-TOCHA, ALEXANDER
11   WOLDEAB, NATHALIE GRAHAM,
     AND ALEXANDRA CHEN,
12
                           Plaintiffs,
13
            v.
14
     CITY OF SEATTLE,
15
                           Defendant.
16

17
            I, Omari Salisbury, declare and state as follows:
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            1.      The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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            2.      I am Head of Marketing, Strategy, and Public Relations at Converge Media LLC.
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            3.      On August 26, 2020, I recorded a 44-minute video of police-protester interactions
22
     at a vigil for Summer Taylor outside of the Washington State Patrol building. This video is
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     posted online on my Youtube channel. SEATTLE PROTEST – AUGUST 26, 2020 – WSP HQ –
24
     HD VERSION, Converge Media (Aug. 26, 2020),
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     https://www.youtube.com/watch?v=zkQZhlmKQbI.
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      RAJ) –1
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 2          Executed this 24th day of September 2020 at SEATTLE, WASHINGTON.

 3          I declare under penalty of perjury under the laws of the United States and the State of

 4   Washington that the foregoing is true and correct.

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 6                                                                   By:________________________
                                                                              OMARI SALISBURY
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      SALISBURY DECL. (No. 2:20-cv-00887-
      RAJ) –2
